
7. Respondent has agreed to comply with Rule 9.1 of the Rules Governing Disciplinary Proceeding, 5 O.S. 2011, Ch. 1, App. 1-A.
8. Respondent's resignation pending disciplinary proceedings is in compliance with Rule 8.1 of the Rules Governing Disciplinary Proceedings, 5 O.S. 2011, Ch. 1, App. 1-A.
9. Respondent's name and address appears on the official roster maintained by the Oklahoma Bar Association as follows: James Lloyd Menzer, OBA #12406, 211 W.
*249Blackwell Avenue, P.O. Box 818, Blackwell, Oklahoma 74631-0818.
10. Costs have been incurred by Complainant in this matter in the amount of $ 2687.71 and Respondent has agreed to reimburse said costs. Respondent shall reimburse said costs within 180 days of the approval of his resignation.
11. Respondent's resignation should be approved.
12. This Order accepting respondent's resignation is to be effective as of February 9, 2018, the date the application for approval of his resignation was filed in the Court.
¶ 2 It is therefore ORDERED that Complainant's application is approved and Respondent's resignation is accepted and approved effective February 9, 2018.
¶ 3 It is further ORDERED that Respondent's name be stricken from the Roll of Attorneys and that he make no application for reinstatement to membership in the Oklahoma Bar Association prior to five years from February 9, 2018.
¶ 4 It is further ORDERED that Respondent comply with Rule 9.1 of the Rules Governing Disciplinary Proceedings, 5 O.S. 2011, Ch. 1, App. 1-A and shall reimburse the Complainant $2,687.71, the costs of investigating of the grievances set forth herein.
¶ 5 DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 4th DAY OF JUNE, 2018.
ALL JUSTICES CONCUR
